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      In The United States Court of Federal Claims
                                           No. 10-156T

                                  (Filed: January 27, 2012)
                                         __________

 MCCLURG FAMILY FARM LLC, et al,

                             Plaintiffs,

                       v.

 THE UNITED STATES,

                             Defendant.

                                            _________

                                             ORDER
                                            _________

        Oral argument on the parties’ partial cross motions for summary judgment will be
held in this case on Wednesday, March 28, 2012, at 2:00 p.m. (EST). Chambers will contact
the parties shortly before the scheduled conference time.

       IT IS SO ORDERED.



                                                   s/ Francis M. Allegra
                                                   Francis M. Allegra
                                                   Judge
